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                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: Corduroy Smiley Lunch Bag for Girls Lunch Box Insulated Cute Lunch Bags for Women Insulated Lunch Box for Kids (brown) : Home & Kitchen

   URL
   https://www.amazon.com/Corduroy-Smiley-Lunch-Bag-Girls/dp/B0BQBTDH1G/ref=sr_1_196

   Collection Date
   Wed, 19 Apr 2023 10:36:08 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   XkkeAKp0ulRvuF+nuLc3T2HlJaYW9KYg8koIH06ON7s0nufaeRhnrLVJY8DJv2D8EyWeXBdtklRI6ZPsleYQUmIxdf7eNvDlyhrlGyTkCN3/JYeuUmuS34yXnCD4IlIuzuOrlCqDX9eO73K9DjSr45nG4x4lfVtJYsrRnVx6uI0=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Corduroy-Smiley-Lunch-Bag-Girls[fs]dp[fs]B0BQBTDH1G[fs]ref=sr_1_196]]_Wed,-19-Apr-2023-10-36-08-GMT.pdf

   Hash (SHA256)
   64182db10d8b295e376cb86c72c6b238beade3e2b2877324b4061a760463761b

   Signature (PKCS#1v1.5)
Fe+ukF9gQCeCTsZDM6Q4GO1OVhl++NSgkArgkTDQARyXsT3r92r6ADV3xfgNuLdTtB6XKHt1fUPNUXsoqISGIsFkagi3nFVjP5i2CyyaT7MZZZMKnRbaHrc8+qMlFdvL0JxEE5JY04RNduhJftABbTobvmfOfVGuCYpH0nMfQLw=
                                                                                Case 0:23-cv-61203-AHS Document 38-8 Entered on FLSD Docket 07/27/2023 Page 2 of 38



                                                                                                                                                                                                               Investigator Name: Sian Kelly




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 08 May 2023 11:20:51 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sian Kelly

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Br0442bt+QxQii+rnmAsMaYuVUfnBG4NMEuUuZ+Bm9LvLrE5ZPRCrsDeuskex73cRhGhOvCYGeDpmeqlr97pszh0WEtdy4Mb79nZRAlQCQSmFEQdCNlh63gyhKIyT+KGYFCWgvUZRgMZibQUefUoG1WPrnejhaj8cO+H2m/
   J4j77pnca4Ma9yVaRH3m4o9dtpyZPUqHfGGyqbj7iipcsehzG1dPgpXsZ8HfX0iDDeLG4KBke7YowNRbwgdGIGkWx2bLbbC2EMof4zPZCcv2nsuWF8oAB9Yq/s19TusY2sQGL8cPp5FkTgDBYw0qwYSLpXPImOKLzU8ZWi01zAwh6fA==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-08-May-2023-11-20-51-GMT.mhtml

   Hash (SHA256)
   757e05d6847960c93f49d4b53be4ef2a053edf0cd60db247ff6026d5587118d9

   Signature (PKCS#1v1.5)
K2D7zEPo7VxfsaNT8yCiQqfsb6z8nBQhBP8LFt/ATcyKwG39eQtF5yRPn8g4ich302YCzkSi6nZtzePhOgeFwXQ33BBHmeu9jRMn+u0aUR7UtuPKzeAxE2tURj1pIlisQKnMI1dQ6Dh+08RPg0FBRSlOM+nNLcNBWQz0gfedYU1MCUKhvk+aAcnk6CY6p33JHi/TE1XRrfpJ3EtmGes6UI7d
+GpkObIATkIx9PkGVnvxyaPT5o0ne6DpY+rDXEFM11B1E5wNsMJYaTBAOeDkLc6dRfJVBs4xgvtLQtzJLSRzDMRqt334kgnwqH7zl5jQQ6qzT4FKJ0bU7z8rS2lq2g==
                                                                                 Case 0:23-cv-61203-AHS Document 38-8 Entered on FLSD Docket 07/27/2023 Page 3 of 38



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: Smiley Happy Face Banner- Smiley Face Decor,Birthday Party Decor, Groovy Party Decor, Smile Party Decorations : Home & Kitchen

   URL
   https://www.amazon.com/Smiley-Banner-Birthday-Groovy-Decorations/dp/B0BPJ1B2Z1/ref=sr_1_193

   Collection Date
   Wed, 26 Apr 2023 05:22:48 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   jp2CKRUvl8B35Uus79nBb4jG8E0aRbVbck7yev9FAolyhH9+cEuv52H5Uuvuqnp9uycHbx3Jszcb/3lwdQKN5n/b4gxvazmACLU767Xd0VtIYwF7Q3CCOjdql/B5pxONHfgDScwmJTIapkx65pR7B4rMlDiYp+rJSFT/z0bid5E=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Smiley-Banner-Birthday-Groovy-Decorations[fs]dp[fs]B0BPJ1B2Z1[fs]ref=sr_1_193]]_Wed,-26-Apr-2023-05-22-48-GMT.pdf

   Hash (SHA256)
   01f2409d62e1c78473b2dad4b87e1fbf0d90bff4209ce59b6d98f265b6ed791a

   Signature (PKCS#1v1.5)
AXDnb9sY7GwOiFNBRS5gPoQn1CSM9Frc1UsoCjcfjJhxoppOig+vtpU+HSYPIpwP4FZ5/GOSdNUI8260tkn2g7bNTbX8jwfZioZqe+5aUbRhHARKlljN/epF5TejLeW/sbcpCQJGRzVaXNm8sm0uyHi+f3kOk0KRZ/1MO2R+d6g=
                                                                                 Case 0:23-cv-61203-AHS Document 38-8 Entered on FLSD Docket 07/27/2023 Page 4 of 38



                                                                                                                                                                                                                 Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 30 May 2023 23:02:41 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.77.63

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   lA0ja8Niuwt4QUuBy3IBehClvBlLAVX03ksvkf0KC+mjDpTQ/e8Xu3eT0m/WvTQ8LHLeJJ1BoBETvH67dpo9AvwkdRI02DpwLOr3hD6mcGLBsC131nKeeY4YJXz6Ivf1tEg2k7PkRn7WxnNH1/c5UjPdLs9ICzg4CLvnxYmDxw4H+6Jk37sdkfs0ZIa8mn2yKZh+BsW4EsHhiV286Gzby+4bdra
   +FGw8hD+jXPxETRspymDbNt2XwfD/d4agbVKGQNdyL5FQZE3SZaYPO6uuml6tMIRa/2PqCPemV8GinqLUF0bACaSnavsbdEe8BrOwb5/K0+GAZgBJLWQ0Mg0WnQ==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-30-May-2023-23-02-41-GMT.mhtml

   Hash (SHA256)
   0acc2c6bb2ab358dcece37e2daa94f42c6fd96948b992ba22110a5031b4e0f3b

   Signature (PKCS#1v1.5)
hR3hepL9l75/HBtUAD+68gHH9+CXjObH0ZSfv3PntcxWr7LaAgVpqPEkkKwv4P15veqUlp6v0mjGJjeDtL3ztrJ1eaywVFrrA5QoWjyusMSBdQmZEghDqmcKXmvZbDy+o5S/lvbCPvcDroIy/mJapzj7qtTYufYsJMq9mm6p/PRR+8UjpqqPP9MVVXZP1NldpjopgdaOdbyzeEzYA+Xa1SOfc5nXQrSgC
+13prGZp7jWRXCR0dlMBirRiUKF3MF4TUHiNkyjYQuZ6REF6A0dPIkvpNLnujVd5YjLPqvytDs2GBmRmxEujbh0ztSKLtK5qI4F0cWJLv52iRHou1DjjQ==
                                                                                   Case 0:23-cv-61203-AHS Document 38-8 Entered on FLSD Docket 07/27/2023 Page 5 of 38



                                                                                                                                                                                  Investigator Name: Sarah Christodoulou




                                                                                 Evidence Collection Report
   Page Title
   Amazon.com: Smiley Face Graffiti Stickers Cartoon Children's Stickers DIY School Teacher Encouraging Sticker Phone Stickers 50 Pcs : Office Products

   URL
   https://www.amazon.com/Graffiti-Stickers-Cartoon-Childrens-Encouraging/dp/B0C3QPYCSC/ref=sr_1_16

   Collection Date
   Wed, 14 Jun 2023 08:39:12 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   fpaQQqFFauyYS3as/aXrcMmA5Qzh+PnHysslTDA3g7S4fJU4s4KnlyBSo9PyISqFM7mQbVmIHMiDnzS5wxlsd0UMgObpLZg8m3H7ks/QdVWfiWBFD1GsBOwuEVZjYTq1x1CDBSucPt28zE3MwimH69PTfiDnHYohjuxIzXcSS3A=




                                                                                                           File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Graffiti-Stickers-Cartoon-Childrens-Encouraging[fs]dp[fs]B0C3QPYCSC[fs]ref=sr_1_16]]_Wed,-14-Jun-2023-08-39-12-GMT.pdf

   Hash (SHA256)
   0b9dbd6c31548da977696e3791b8e0fe7c910b88309e9afc93689e55dda7a791

   Signature (PKCS#1v1.5)
ZErAP5807cd1wAEtw35Me9q8iU+TKMso9yx4M57I8hZ90BZFkAVqPs2MG4BTZOOdTZJjto36acD892SV+ETF8xtPahxWOMsVfXTqOJlORnuaMqBI6WF1fCW1nDGn0XlIXi3mQi1JrMPsj7RAt/CuSYGB1vSaHr9zkq8X4L17GXY=
                                                                                 Case 0:23-cv-61203-AHS Document 38-8 Entered on FLSD Docket 07/27/2023 Page 6 of 38



                                                                                                                                                                                                                   Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 14 Jun 2023 13:25:59 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   202.164.131.66

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   RRPSNzapXfU5TaUUfUbsfTgKpS+U3BnwhjIJ+43j6ab0BuuW37kiX2QnZpFiDIKCttIWLgVDkvxCeMO9Ycz2hgvK3NGWksy4XYEIu3l0yAR8aNKtJNQ9wVS2SDnS3nJFLmhG/URaV1Lp4+1VYiQVdNXT/30dKlgNOyySfmHCbbg3kwGvpXFo+3IsCnnAT0of/
   XdE6b1esAZkBeLaBNtL8mVkAUCwgmeAVPDbJ+dqsDD/OULCX8gL16tyTFBH+P8A7wOVCv8eM1qSmz/m3Pd/eI9SKWNaGcFdRnbM9BE/7aq6hQJjQPS1g5OsyRSWBHdPH3lp3Yr+SwdzH94InGvvQA==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-14-Jun-2023-13-25-59-GMT.mhtml

   Hash (SHA256)
   25d2aa2ebeae2f3272bbe76fa1c758b1f67f523d0c501c93d9d049356a9038e1

   Signature (PKCS#1v1.5)
mGOuQjxnUSH4vOU319a5J9/LC8S83t+yZF/9mzi8YZtE/OfTLiYXPG9kpRcvcsVMehg+r8JEMUqO138GkMeyemA7lnuTxl8jKJ1bZrXDgdbsbN6d98rUwiTOtOKU1MnfCPzfvFe/
TFG6sCtPtYNIR0wpvU4h4j5Eo1LtcXmZuyrIZy0PejRcCrw3n9SHHCiQctGuOo4P1JObOGh9L5KjvRbVIsmJuAGvoV2PrdBeDIIPm6IjErDUENKXa68qP2r0zjNK6dHo8B8RzvLxSTP9M5GCxT+hKZNSz5kwPzFhcmt1engX3YCn+6l4K+2A0K2Ox5oEl86ZwjQOkOCVe4FmAg==
                                                                                Case 0:23-cv-61203-AHS Document 38-8 Entered on FLSD Docket 07/27/2023 Page 7 of 38



                                                                                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: Ovfhus Retro Smiley Flowers Make Up Bag Cosmetic Travel Bag Hippie Gifts Cute Boho Daisy Flower 60s 70s Decor Stuff Funny Gifts for Women Best Friends Her Mom Wife Teacher Coworker Birthday Christmas : Beauty & Personal Care

   URL
   https://www.amazon.com/Ovfhus-Cosmetic-Coworker-Birthday-Christmas/dp/B0BRYXX2Y2/ref=sr_1_29_sspa

   Collection Date
   Thu, 20 Apr 2023 11:21:28 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   UuKBhajWp93Va1OLIv25FY12SNs9Sj9QjyY7bE+g6kGTDImtF/Sm7f1W1UMOOF5kCnIlJNIsE181zGOgHNRmxbYekUtpY9otJ4h45FvfsGcPwGoKVPrifhQWBFfuidBmhiUoJLrkGycTpVIPXfxnZ60hdoRM5Y4y4KEALRyWpoc=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Ovfhus-Cosmetic-Coworker-Birthday-Christmas[fs]dp[fs]B0BRYXX2Y2[fs]ref=sr_1_29_sspa]]_Thu,-20-Apr-2023-11-21-28-GMT.pdf

   Hash (SHA256)
   e679e1a6947e0c0303d19c9a49e359daf315a906b464754584fca35735d2c759

   Signature (PKCS#1v1.5)
ZFW72QbcUzwV3RQpIdDWwVt7RdaDZu7HJdCRzqY5d7G/3vYaRWtD+v4qhu7hjLJWaBn5zkV2BZM3FLmuJfEvkcEl3W7xPZ5qFdIfCPiWgQMQye7CIDN49C2RjkEEG2NpXmrWlsDQbvFmdflc81lVLFLVsnIHq2Ej3MRY+ZAXRwE=
                                                                                  Case 0:23-cv-61203-AHS Document 38-8 Entered on FLSD Docket 07/27/2023 Page 8 of 38



                                                                                                                                                                                                                    Investigator Name: Neha P




                                                                               Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 19 May 2023 14:01:00 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   bcnGiNtPt2uPQHcOQLgcjJNfU6QnQfj4BhGQenafkqVCXmnO3HR9lbUgLFrcLtFAYTRku7RVU47hZCeMcaYc+nHCV7cJahqnWFiCMIGzQUJDb9cr3NZvYH12xQ6BWaTq2wD5gqPKiGxqde0Ou3l/XD4wNJ1G96YBcjid9G427fiIjMz2n38ixKVy
   +6YzbJTOoYS7TB0m2Iye3FnnDgCglJcbPQxRJNVAfAOkcyU6fN4cxd4xGMZyqPK/9JeZJ6QHolQTva9KmsPgyn0g5OUzd4t5dD5mtdtXNvmVmi9KnEXZ+OVRqDMtbl5qRjnwlS/6Si0INUtegaFRRVQa4hi0jA==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-19-May-2023-14-01-00-GMT.mhtml

   Hash (SHA256)
   8b637575abded011bee755847aad34fe5bc5ed731a5b369b9f81635bbfa04459

   Signature (PKCS#1v1.5)
lS1N6eU59qd1hxk916PUqqjkxrGRnNo8UQQEc9Gc/VFOkph/n9NeTw5CCIactFNbi08pB0lpvulmgbIph4wr/A5UdO8JF2nTXipCCARbkYd17x75fCR+/
erSliAgedRm0OJhs5VjI9FSfZv5wd1sLJ6QsBkxpuMUf072Vi2wCkT4z4dPC3+oWAiWByx4qORtBepLVaa2sJON9R1fm42aUHqwTjx5XdCKGrRBjhmIlEsGuO4A6e//pmh/q2j6Zgv+/DMc+pDdom8aWb4orCJoXfihgJZ0ckbfEf3RYTaMQ7V1D3/8RbJ8Ey76dJz0dd4EUr0fyjEp44B9K+L+jotLIQ==
                                                                                Case 0:23-cv-61203-AHS Document 38-8 Entered on FLSD Docket 07/27/2023 Page 9 of 38



                                                                                                                                                                                                       Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: WidofvSpky Cute Smiling Face Pattern Phone Case Compatible with iPhone 13, Color Smiley Face Case for iPhone 13, Unique Trendy Soft TPU Bumper Cover Case : Cell Phones & Accessories

   URL
   https://www.amazon.com/WidofvSpky-Smiling-Pattern-Compatible-iPhone/dp/B09QLHBQPD/ref=sr_1_20

   Collection Date
   Mon, 24 Apr 2023 08:24:05 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   fUqidXufqg0hKFH3V7vTdeYlRMzRHtRFvJOKQbbCN2x+BcxpSbTCA2AZPt3YkbZe0Sq3lGxvsa8bqIfeoluzHIizcPh+/1ZerRAXoKd0zoGRjj+AAxOuGHa+RjiPBdR1x3CKs+8y5Gi/QfSMGrTian/b8RVrscFY0kEJerf0goc=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]WidofvSpky-Smiling-Pattern-Compatible-iPhone[fs]dp[fs]B09QLHBQPD[fs]ref=sr_1_20]]_Mon,-24-Apr-2023-08-24-05-GMT.pdf

   Hash (SHA256)
   11085e7c43f1f9741329357e9c73680ce529caff8d9bccbc81ec058082378d58

   Signature (PKCS#1v1.5)
YMgt2NGzCjvmm9Y1dQTkTJrHITKJ673D+1GjoYungezKS6kfqqhSfAU3rDviwWnQQNTnY039x9nCHbwCvthUaQeWhZUKHjRy/3JgfSO7nfr44oMbly82ChaKlGbpnrvHcR89KY/EYWJOZ39Y7WsP+opOIc3fmOyrJLijsPTYRt8=
                                                                                 Case 0:23-cv-61203-AHS Document 38-8 Entered on FLSD Docket 07/27/2023 Page 10 of 38



                                                                                                                                                                                                                     Investigator Name: Neha P




                                                                               Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 26 May 2023 18:23:24 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.76.240

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   ZNe4Hj7jaOQ40CjuYBWD2g0tGfJHVyXAj4xSnfeHBiTXg01D3YRYfB+ZluXMaWOFuyTDu2PSk7jEcicm57QpSRnd+LN585RUgfhul3qmlIfi94I3a1cgcTh0qWslDbnHTqe6pJnZuwlApCEgs3mnW59OLywam28M5sX4zk5n25poGb/v6ZwBxCYNEqn
   +LWh6ZtkxnX7CZahKQlCI8NNZoLB4vztwemh9T/LzJ8evB+qy5TjvTTGC91oBn0jUuTQ/Fj4zZftiP0qG5wvpOOpHcrLHw6WXLuzNwYtyX+/0ehqqyz7f17NfdW84r/P/ZmGehQDP2JaOWwU72n44YYbYqQ==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-26-May-2023-18-23-24-GMT.mhtml

   Hash (SHA256)
   8ac95ce4690a8b012da549c4feb85dbc19a5ff2124abb27fb29d8f02eb30931f

   Signature (PKCS#1v1.5)
K9Vw1/qgiZt59A7k87XtKPAl8orVZ9LRn4G4utMG3aUKg8OC0FIQtK7rySB+20axpuvLOtBSzA7yt3BY+9uoAuJVwZtQdYI7/jfMp0zZim8HWZZcDV/IwwB8S73APLKAQYex9ttSkp0rcgu5jk8rQf9771hze49JCCuye75Ht/ES8KKpAPkKWcMlsuVK/lnmJLU7I+VaDqN9nbOfedi0d/Nrmkl9j3Cu8/
mt38RFfvLeNga/L5KBgT8cTbkk44YV5kr3TtT3BbK7GCR7zKb4+y3czlk5R8usH1hgCpMZ3EZIcfVlHFjcarg12Cini5GyjD0TtL54PNfdPkd/2DSL8w==
                                                                                Case 0:23-cv-61203-AHS Document 38-8 Entered on FLSD Docket 07/27/2023 Page 11 of 38



                                                                                                                                                                                                                                   Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: HANLINZHIYA Slim Cute Case for iPhone XR, Indie Smiley Face Flower Daisy Hippie Retro 90s Orange Aesthetic Pattern Phone Case Stylish Shockproof Protective Cover for Men Women Girls : Cell Phones & Accessories

   URL
   https://www.amazon.com/HANLINZHIYA-Aesthetic-Pattern-Shockproof-Protective/dp/B0BQB3GC27/ref=sr_1_210_sspa

   Collection Date
   Mon, 24 Apr 2023 11:36:19 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   HdUsA2BND8wZ9MmsFmWh/uNKVXc7BjeU4XbL1wr3MP2EB8ao+JVBzgcMpD4suHejTjCjZAoMU34GQgL2ESIZrcixMDNd/2G5ekqJUTpFMWuLSG8sKZeBXfQDZCdrLmugxwFvlDkJGbZNzSUJhtayZvObiKtDKNN+K+ydOAvVzYI=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]HANLINZHIYA-Aesthetic-Pattern-Shockproof-Protective[fs]dp[fs]B0BQB3GC27[fs]ref=sr_1_210_sspa]]_Mon,-24-Apr-2023-11-36-19-GMT.pdf

   Hash (SHA256)
   91c59baca90a23947a2c18e582a34b67d78ff098b72063acf545d57f2e42f90a

   Signature (PKCS#1v1.5)
EKCq/Jg/tyjaEb1Mfc6N0KU8uQruraHeZR8i/DlSaStKry/sagSFLBilWZym4wSLFDpphJkm9+xcjGLkNrDxf3uzfULWWoCqo5Rtn+nN8Vyp+fArdqYhMCSJWTKt+iwM8MRuCq14Qs3OJ7E3LUolRcDt0/fFkrKxx34sVTzXm8Y=
                                                                                Case 0:23-cv-61203-AHS Document 38-8 Entered on FLSD Docket 07/27/2023 Page 12 of 38



                                                                                                                                                                                                          Investigator Name: RemoteUser2




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 16 May 2023 07:04:16 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   202.83.57.61

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   g4dST0+rAd36WvVIvPZbwsYf/7iON64UUY54X1hE8lVTcsX38QBDmxM6YQLSmw6uvqRBx2k8KUvdmSNBf8g7N5dvxyR5shv06TjuKyQd3+cD3K3wfYNx5dJ0IPtKN1/TKrwRVDr2kiIBbDz7PerCqa8kFnQ/T0vr94biMkabFuuI5d5N
   +VPA2fbgnGuQvh8yi1jfjcN6jsZT3h8peKo59maUVoPeKDSbkaGzD1QNvImI7ggGW91G+jkISL3jP7X2jN0IQ6wYO3HKZ+bI7eJbKezrDQm1+Ee7/yS5HG8c/1RSlk7PpIjLmUu8l5Y86MdToIuIK6ecQHqjISSUOqjbdw==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-16-May-2023-07-04-16-GMT.mhtml

   Hash (SHA256)
   c0686cd93221195f2be55a9a6fd43cc60383adf5d93f1e079b95eb78c759c41c

   Signature (PKCS#1v1.5)
H5WnHerAektWuUz1bjzg9NQG0iz3RC6Pt7A8xWNCIy2CL0+YdMlehkhCqGILaAgUHoethGfDWvfNZzy6/+2iTTyuACbLD3Ioj5ZWqBwsXrgNSCVGXSRyiTU11Ywln0x3bhRJbuRnH9ALK16eA2KAKp8FZjOf8PFWc5eOBeWSZL1dVQ5wB1gteDSmB5p/UvKTano5Z3BU2zNwx3SCfTjL/
KOf4cJanCpfQYz9v3IdpzarupNRYO4ce29H1Bb1CQIMc/ZJhr6nBfmr3XjBiuyxWEf6lOlcOpzFQ1+wEH+qwFKzGxQtzdv86aGNXM9CB4rIBOdXHjgZdVaSAYh5LJEDyQ==
                                                                                Case 0:23-cv-61203-AHS Document 38-8 Entered on FLSD Docket 07/27/2023 Page 13 of 38



                                                                                                                                                                                                                        Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: Compatible with Samsung Galaxy S23 Case, Smiley Face Cute Hippie Aesthetic Peachy Smiley Face Slim Cover for Design Soft TPU Protective Cover with Design for Women, Girls : Cell Phones & Accessories

   URL
   https://www.amazon.com/Compatible-Samsung-Galaxy-Aesthetic-Protective/dp/B0BW5W957Q/ref=sr_1_123_sspa

   Collection Date
   Mon, 24 Apr 2023 09:35:20 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   jA27/Q53PkUdVhmAfypNd4nAlLItWy5AAuk0TuXe20U0Dt+pqrRl2TlW83YkJyk+FV90eEBQyu/abMzavHp4BTdZWQfaq0HLsU/CmALE2FxwDRNCfoEdq5lWpKTv6JSmP8duSpFMusgmrf/drwZdCzUOskEXlyzlhmrJez0d3m8=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Compatible-Samsung-Galaxy-Aesthetic-Protective[fs]dp[fs]B0BW5W957Q[fs]ref=sr_1_123_sspa]]_Mon,-24-Apr-2023-09-35-20-GMT.pdf

   Hash (SHA256)
   3d068c0739301da573d4f5bafb58703fcdf96d32e8338288553d49d66100aa4b

   Signature (PKCS#1v1.5)
eBVMHGsDPcV2bcNJWHw9SZjWhvmYdO5/tZCjtgN9ijppL+QBSjnMakfIpPc7wcNeVF5WD/XqvCvEYdxAFurd93Lrd7PCNd0qJjU7FGwOD1aLHUe6iQrOpf1I3tgG5XlVEKZhHV/P91SvjKrWKNQp4IvkaSD0htS+DcqPS7e9mIs=
                                                                                Case 0:23-cv-61203-AHS Document 38-8 Entered on FLSD Docket 07/27/2023 Page 14 of 38



                                                                                                                                                                                                                 Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Sat, 27 May 2023 06:25:11 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   aOspMyrYjptmAKVPfRdzyolsK3BZA91KI1ddNkoyTkqOFavdmEo66O8V41bheXjGIi/eALBfeHxIpPor7YcSXsHRIOUyC51FuuBNhWzIh5rA5yw62Gotm5639oOTDjKQsvu0dJcsKFzO6Gd3/DPEoDYu3p5nFNUPXkmHz1PiYkwTURTyLsXv9Q/
   IxyIkiMvkUR6fELX6yuFXXwFnLCVP4qrYtlneHECKSEYRokiceYJHDehqZlBh9RjKpa0y1WCJhlGCEw1Bf2PAAlihETpswW4bb2rn6zgdbwMJ3amSnoJ5WuyC4Fu/Kl5oUzLlsX7g2QpvtBvg+ohQXC+kcaghnA==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Sat,-27-May-2023-06-25-11-GMT.mhtml

   Hash (SHA256)
   217e206a82eefda631d52fb1bc0618fdf52519dee1c0507a7baf8e563cbb056a

   Signature (PKCS#1v1.5)
Rfumk/AVW+gWp1Aih8RoBeig+yDKJDFS9j7xyB1n/YWmndvBkiM6NJAtZKRT1AU3YmciR533GHajv6F3D+dwXLLxP6iw2rCA0X7gRlte9LAmjuA5r7rvIU2fcApmwWrrJSDjyv8cxf4/b0RJwFf64RL+1W58rimzQWBCPo1Zpyc68h5sB2ZQZfP0Z73NU68G3l3Rt3HYDXfZ2IXU5/
nKB8yxyAQiI3OYWaRFOsOnT2Kzchmqhzpcx386VZOQSYhJS9tlNEgYxqK+QtE0irRWIww3okgFur9wJ6qSFJcgKXT9cdCSx97xCmMeCEIES2x+crH+jcXXjjzywsocV4YbYQ==
                                                                                Case 0:23-cv-61203-AHS Document 38-8 Entered on FLSD Docket 07/27/2023 Page 15 of 38



                                                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: Compatible with Samsung Galaxy A12 Case, Smiley Face Cute Hippie Aesthetic Peachy Smiley Face Slim Fit Soft TPU Shockproof Protective Cover Case Gift for Women Girl : Cell Phones & Accessories

   URL
   https://www.amazon.com/Compatible-Samsung-Aesthetic-Shockproof-Protective/dp/B0BDL2FPMJ/ref=sr_1_22_sspa

   Collection Date
   Mon, 24 Apr 2023 08:18:52 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   AHPr81p14w/zIOPt4rWw4oH4znSVgctBgWTkPZ0IpKWYiEzpZ0fxr3lzcoe+N7Pa5MD7qw0ADJwfV2k14oscB5Ia5Zbr1hkGZ+LOkIiZjAe1w/VK+266oVgEf9yOlmzXReU6yUroq9bpqNIfLkiF9RZKW2SOww1R9Wvczp5qijw=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Compatible-Samsung-Aesthetic-Shockproof-Protective[fs]dp[fs]B0BDL2FPMJ[fs]ref=sr_1_22_sspa]]_Mon,-24-Apr-2023-08-18-52-GMT.pdf

   Hash (SHA256)
   4638ca7aaae4ee8829cc58bf8910e46e21f8569e3b61e3798eadde5ec456c5ea

   Signature (PKCS#1v1.5)
HcF1eRNEnv/ecsrBYLnMAwV6yhTEaMMkRD7m96qnVQxbJdVqqFwXvsENZ7bg1TehAlnbZuvkZDqvYAKFqSlvER9ni3v3g/WVXgK/Vsuk5FqA+j2MDnRf/hmukGLXB434eHli/ho2XZck6SrdO6hiMxLIrnYpqELZYo2Zj0FwZ8w=
                                                                                 Case 0:23-cv-61203-AHS Document 38-8 Entered on FLSD Docket 07/27/2023 Page 16 of 38



                                                                                                                                                                                                              Investigator Name: Neha P




                                                                               Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 26 May 2023 17:35:35 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.76.240

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   eV+/ekHDtGb1d5+pBzBiFhaf9/gJntxXYvuKFopoMrcNTuuD1tXm4pFQzl6JrAFj97IyHSVbzGXZVaQPB4j+MDN+rFL1r9IWMy4Dx0P9AKLSG2sXjIc5uwDB0+TeGv5EE2clcBs
   +72QMo66szXvsmKXMTyoSvSw1xXAftcTiZHoJo6izFfhooGTAgNYTgc2xJMm7iFNLazQXTtJlZ3HVsephg73EGhJ0FXma/hRc8XtQgGFhEL5HCyLH3Le04v/h6clQiqX0u+oCeorNINoMVKNwMg9hjM/7erfddlFF0dv4OCKZM2zHIFbKZxl08A3MpEdT9yXhbm90eKFIWM/xnw==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-26-May-2023-17-35-35-GMT.mhtml

   Hash (SHA256)
   37ab01da3acff14fc810a07233e7ceede135c6dc7b4b54ea2b20a709e18083a3

   Signature (PKCS#1v1.5)
cOlq05VsjWGM3MEjJaqq2wOrGpkFP3Sxpj43nQDC79+0CRzWyTYFfp8VXPhZriZYP8W3QHovr5NZu09IuFaN3i78xSzLBilCWDB5Oc9o+r0MwKLrdNgt8Mbi9eNvoiGHuFoOvciSdeI3hXWCGW9XR1/
+fqpRZmqNLprJ72ignbL2QHFLAbGIPQ82C1fvVo95WGoua8uQLscS03LTNk8AZbvlZKcJSHx6f/w45NRT05O6izal4q9JI9nDNefFqO5ygNyWutVoiGAcQnl0tLQ0yIez/3frEvZNMHPjtcZidZC47iK60Q/7rFHgm9vVh8WVKXyxzA0I/Omh3J0drI8GXw==
                                                                               Case 0:23-cv-61203-AHS Document 38-8 Entered on FLSD Docket 07/27/2023 Page 17 of 38



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: Compatible with Samsung Galaxy S22 Trendy Case, Cute Colorful Retro Smiley Face Clear Phone Case Gift TPU Shockproof Protective Case : Cell Phones & Accessories

   URL
   https://www.amazon.com/Compatible-Samsung-Colorful-Shockproof-Protective/dp/B0BKPZLS3P/ref=sr_1_22_sspa

   Collection Date
   Mon, 24 Apr 2023 08:24:53 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   o9bFVUAoqzAk9nuf2MM/TLmqcFJg8T89b/Xxy26NhbYHvA6bG6LzjiyvXWn57G0W4gruPx3nG7WdCKrzia+M6RzypD6DsBbtdCnj3uvZApcutvUr8htxpekKHRx5WhbMzviU68FGNnFmoiS2PkYuv9R0yuFvdVZxv3CaErR8KNM=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Compatible-Samsung-Colorful-Shockproof-Protective[fs]dp[fs]B0BKPZLS3P[fs]ref=sr_1_22_sspa]]_Mon,-24-Apr-2023-08-24-53-GMT.pdf

   Hash (SHA256)
   d0a2aba90a6e035406963c1ce28825d8573d847fd8fb0f18f7fa3917f040919a

   Signature (PKCS#1v1.5)
BKjlqSFxzvm0qDjE/MmlREyYGs1sfSDKFEN/1/h+yRuu1jKyGU8VSsQSJak1Ihwh2dZs5reJqdIQ9kO8c0VG7tAoKdrt3E+vDbIK4RkcUrsxYymcKkm9dymKbkok9nKzAi5nY8ID39LMnNl68wXCXjJsv2FBtl5LXG8uhSILfRQ=
                                                                                 Case 0:23-cv-61203-AHS Document 38-8 Entered on FLSD Docket 07/27/2023 Page 18 of 38



                                                                                                                                                                                                                  Investigator Name: Neha P




                                                                               Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 26 May 2023 22:52:19 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Z64uHl/RHKV3sa9ycDlzadlO0rinh5nbEm70CgvkalFfqYzCnJFiN6SutX/cHdm2jUBukpJiz36wv5HRTLz8DcDpdOT729RbfL2hDJtHrEw33EXDqxhnt098HmLj1RRKBtytYtY5JY2XBJA4n4XHI9trLk/KTcKleisHyz676f1o4H0IVNKEVniWCwAf/sPzYkeALr
   +QCEIVImg6qQDIMehW8yKMRNEj/686GbChG7fKFVVRKEIufg6IoZb+3MMvmJQNcNCM5m2YE7TjHIxFDFeiV2CNV6FU0Pq6HdJqpJvL7eWzh+ZZ4QnwDcarE5cwT/2qGj3/pFfIS47wCcR3vg==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-26-May-2023-22-52-19-GMT.mhtml

   Hash (SHA256)
   d3b83da9ba3f99207a17c878c73db4d551649c52bb641734970c57cef5669ba5

   Signature (PKCS#1v1.5)
j+YAM5zY1Q00fISkyiq9Q84XP38X0Qkcl7q9dmusxRMUoj0GrWItHpcCh9zmEOVhwDXCim/Pq5Bdt2nkOuYNhwDGzRc46N1FLsBQt07rffjqD2J9z46TqsfUnAlNm9nVAA7hNub6/QMxorwPutO6qdUqLBVsHj3RiIaelQEPxL4LoHoaItOW3QG7dFOdXdJXs+gQiSDae1hV1z22rr8jHiAsHuRrGQ
+TB33+lQ4zmywrvxvRIoKznGT+/m3hwgwpBtCeVQP3LFLZZGuYoQ5WVffx5qsKyNv0fqVyUZnkwIjfpuUw/1z5ELlj8nw8GtRiHFuGFpx3UDAFWf//NGUZIg==
                                                                                Case 0:23-cv-61203-AHS Document 38-8 Entered on FLSD Docket 07/27/2023 Page 19 of 38



                                                                                                                                                                                                           Investigator Name: Sian Kelly




                                                                              Evidence Collection Report
   Page Title
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   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 08 May 2023 11:31:02 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sian Kelly

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   PYSobM+kwQqPfutFVx/j0sCCwRTuEJvqRCT86J+xYlgOyqIhG
   +oiBhWN1kS9GkFXOLAep1+y2fiZWeir0uXVmwgPrSTN0H38TSQ8YtzBSnPkiz5QCjnjdrbhJ5R4+2YVDoQp0jghd0PvpBEUUYhHq946069VdP2O0AS7AOW4g5HiURyqAa7khFFVewDpYY3Xl9BJCqFyNJEVL0Qam9flKPTnjG4Vws0hPX6Bkr4iDxZw9OiKTP4ngssLIvXzMUbEKNY7cxXY5wW
   8Q+/GKNj1Oem7AAnwcGytg7BHouP6ZaducYTH6QIrSvTlGTKH1Ex+1dmiACp5iXtragSUSzKxCw==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-08-May-2023-11-31-02-GMT.mhtml

   Hash (SHA256)
   4f3e8529b8ee3423d86e4c2b2cf891baf40943f662853b93d3f588ed961b0504

   Signature (PKCS#1v1.5)
tFM0AROMYrItJz2j8Hro7E3Wj49mcUwyOXILW4BM62S3jiT23/WQPoXLm8EHpCB/sZJgR6RAjBoWmfrZ9HWKSyYFjs0Cq4bWhu1+CEr9KLSpVRs67UxBt7oGYpQS++y0MmHc/a1btLTKc6q0jKXH/1QYnvC50Ucu
+2nW9IDwyMCRTs5gLm9rkuMiBka0SLLev5mPUHkpvoLPSlxlrQkF5sq5estVIzGvccFVQnDiTuXieO323Gi1s5uRl3CCtYxzolL6utqCo24y7w5OlwNpgr1pQvHOluJvrbeWhKQLjWbsOxf0uggH5FloitAKPlDFjPV1lbZEEqFDUy+FFpl1Mw==
                                                                                 Case 0:23-cv-61203-AHS Document 38-8 Entered on FLSD Docket 07/27/2023 Page 20 of 38



                                                                                                                                                                                                       Investigator Name: Sarah Christodoulou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com | Bevaney Smiley Face Slippers for Women, Soft Plush Preppy Slippers Retro Slippers with Smiley Face Happy Face Slippers Slip-on Cozy Indoor Outdoor Slippers | Slippers

   URL
   https://www.amazon.com/dp/B0BQWJWR39

   Collection Date
   Wed, 10 May 2023 06:55:56 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   ikjb1TWTU8PECMfG0FaL9RoQy3XKEGtVePZqg+ZmbJo6LuYwro8JInwxWairlK3lovtjCZsp+oHD/b3kVMapfZC+ojfTuI2xtPH1r5VWG8LO/DfQAtWg70Lpl2Lcq4VcAhvE5ka2oNWOYjFwueQwa/oCPlzyVjKsfQmmk8xmXQ1CttjVLdPCCOvb+orQTMKUpBkMDtVWC4BmR9tcCO1uF
   +GLTYfkLGuKAdJodOmVcKahVNi3oZly5nT0OfeHoqeldwuo9fCpXZDdqUAwQcbijvysyc5AYwN3ynNH3P6mT7zTDyG8udzU4gFwe/JqriWZor73A0u6W+frfzOuySOd2g==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B0BQWJWR39]]_Wed,-10-May-2023-06-55-56-GMT.mhtml

   Hash (SHA256)
   f979c76df3c50e2c0ca3c4ad47866e57cd45a4391d6fef2756ca5f5888eac1e3

   Signature (PKCS#1v1.5)
GyY6PRZZTVY/RPVPYYKIv+Nza3GVuTAHBy3DiiSMpIe/nbjdUc2tPOZjb3clambRHYxZnnl2KdKMmozN7rXoJe5m1Jl7AUpwMWDX89zpEnSCjbWd7ezCZoZbU4Ru9FLsRrjU7DVYt+dkBojMTI51ejTBXoRjdCoEdUY88/88nMjTp9pddCmQsAcms12xwFeKO1FHY8RYtsm8BF+O/
Rx4kORuXBnSDEzrGur6O7xJPxk1Xj0xn5kYi8q6As9O1yoHSL4lBRrQShxN7Utsf1iTsJkfSTgKILno7/cHssu5xlZ0Ab5XKLxr4TulIKqPpIbKQOmBeR+Jcb/qOJ78sWApjg==
                                                                                Case 0:23-cv-61203-AHS Document 38-8 Entered on FLSD Docket 07/27/2023 Page 21 of 38



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: ITAL3000 iPhone 11 Pro Case, Luxury Plating Soft Silicone Crossbody Lanyard Phone Case for iPhone 11 Pro, Cute Smiley Cover : Cell Phones & Accessories

   URL
   https://www.amazon.com/ITAL3000-Plating-Silicone-Crossbody-Lanyard/dp/B0BWTQN3Q2/ref=sr_1_99

   Collection Date
   Mon, 24 Apr 2023 09:31:19 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   L87e0EZQxHoJ6urb+s0JtUGCkyMUCIrVlLK8tYROtzbuSm7kI+n0Y+Ttb+/Pm1vIN6zYJFyw1FH/jOAiOphsqPulIPSBGPXh/f1a9iGIv04jI+6GLsKAzJExJ9NlQ0eG8VeFXz0rLYLY1iZCI+FCHYi11e2aG2T3otQ1y6Zaut0=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]ITAL3000-Plating-Silicone-Crossbody-Lanyard[fs]dp[fs]B0BWTQN3Q2[fs]ref=sr_1_99]]_Mon,-24-Apr-2023-09-31-19-GMT.pdf

   Hash (SHA256)
   349a4e5ee1daacd69a299eafd48cf801299232312b921337c659a0e7c6a553cf

   Signature (PKCS#1v1.5)
pGyjmZbI7upqzbmTaGodfvBrIS2MsC4cDLHWRYLRD7KStuSn4xcnaBF2zrnWXglHZopr0BjHWhQga4+q2DFa9B3/L88raKq5foKSR8l4K1uuE71mL7TdgEpIAgxHwB4EDxaMWV6jeFDgYvZiDa1qgJCEvmz8a0FnPs3hfDXnNtY=
                                                                                Case 0:23-cv-61203-AHS Document 38-8 Entered on FLSD Docket 07/27/2023 Page 22 of 38



                                                                                                                                                                                                                 Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Sat, 27 May 2023 03:32:24 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   gwHu+l/B0qQGBzuK5cPA2n/ZTISM7gqXudHxwMkRV9V3kPh1oggaXEs+QxkuEYOJJ4xz/iYbftmRB7GMEOzPxgSukYffF+UTHW0EfZ8VoCqjAvfl2kRqLUD2Q0l7qhl4hcSDjAzECvp8KUriiTvmM6njSyMRDPNFyHOANTHO/8nmGeziUaoi356uWQrBF4AReZXVQ2G3tFmTlzYxrs11FM
   +rfcv1SbvjPaajaCSIPZmdwXmF5OFJENx5I8El5uCFkm86iQupRs9i9/3V9TDLcJtfBzt0dmsbzh5HCqcY25A1qHm+iizx9aZFO3j4mZF+1Kre6VeozDXi/zWp9p6mxA==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Sat,-27-May-2023-03-32-24-GMT.mhtml

   Hash (SHA256)
   b76f58059f5d28e88322fc6c1d4c24376fb0e95e378ff0e93d5a43b63e9b4493

   Signature (PKCS#1v1.5)
TSB1jCchH6i6OmooVaj+3rHKLX6F3Cf07p/FjxWY0fyuVDBFL3O52lEY9omy4bHTKmTOizZTQX06Va2n82fH4cyrVgi9OMjX4VJcwqws8hY8aNnIDC596PB/hfC1lGp14OEWR/
R8ahTNYQkXEJyFoUTzwnhefRb3fFLKJsXqNVGBkNTXEhOWrqvOFhHyeynsBuFwEWhsbkawLVrLISG99mhCaPF8RImYcXa+3iKd1HIF2YIJny06CxCdrkeUhYg1DPQhmIDbjkbWKaBYm8wj+lL7ibIXR043rgm7xK3qKUylq/2OFiFYW/Xi67Ku/rsPvsapB2qhnaFlmz2ufSq/Ng==
                                                                               Case 0:23-cv-61203-AHS Document 38-8 Entered on FLSD Docket 07/27/2023 Page 23 of 38



                                                                                                                                                                                                                                        Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: WCRAZYE Layered Smiley Face Beaded Necklaces for Women Colorful Beaded Dainty Paperclip Chain Pendant Necklace Cute 14K Gold Luck Smile Choker Happy Preppy Necklace Y2k Jewelry (Rose Red): Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/WCRAZYE-Necklaces-Colorful-Paperclip-Necklace/dp/B0BBYV9FK4/ref=sr_1_26_sspa

   Collection Date
   Wed, 19 Apr 2023 11:41:42 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   jBBSvsWJjMfYtWTdBFdsk2yCRZnPC4UZ4VCv7Ual5ElOkzC9daLTQih/EFPhI7GCcuUdgek6dhgc7zD6ERWCsDx1w7ajfjhrlZoncJy/uuFzjxBXyja23L8hEb8oWCK6DrEMcFdaO2q7ZFyQZaTbEifDo1ZlIK+Itk2TMTvaLx0=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]WCRAZYE-Necklaces-Colorful-Paperclip-Necklace[fs]dp[fs]B0BBYV9FK4[fs]ref=sr_1_26_sspa]]_Wed,-19-Apr-2023-11-41-42-GMT.pdf

   Hash (SHA256)
   8a139e24bd7ea80643ee7412bbd7f01560a6489feef94f3e8866607d115c7e3f

   Signature (PKCS#1v1.5)
eOLbKdg1Yhf96chJ5wrpan8Mn2YP/14C8AJxeLOQQqIKcftUagL0pC6i4hMVEBOMkIo7Oas5/4m0hil2bHM7PlLcE4ttglKjuMtVopoWaRAxs/53sRVUQu/t8zwr2ueLROqC02LeU6S7W3dpMfC17VxTZ7c8BB69HWBpFfhodtw=
                                                                                Case 0:23-cv-61203-AHS Document 38-8 Entered on FLSD Docket 07/27/2023 Page 24 of 38



                                                                                                                                                                                                                 Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 17 May 2023 06:54:55 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Fp5PI1ORy2xPGu4LtDpWTbWdOYO8D67UcKKCaHS50WkoJo7U96I2riFVVsq+0mcO1dfHQviDCbZ4swMyp1JXr8w2t/0Cu5aKBjfSR9p+0emqc625X5uM0C7WmiKoKh+VsUQVBa9RjpzoYLCu
   +qGlZo7dIz7DfBKxB2GIYHCgq7DoyIJDCkPhKvkgXweGj8ZRDxXDfolnk6uH7WfwmWPabSuaGUIMsj/K6xZjWFtpO3fb8yqC5XoeAUTsD1CsXDRGrFmBGS+cZ12TB32YPY+P51OtGotGgHTrtM76CSTO2E0/IFuOtI+SuAgfZdlYjHsw5Wxmy1jcTu/v/SHlzfS/Tg==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-17-May-2023-06-54-55-GMT.mhtml

   Hash (SHA256)
   bac35157536a77c502a6395016237d2ddec23c762f3c58161456fe340984e1a5

   Signature (PKCS#1v1.5)
Tjnk2Nak53pXoOZrw78G0yjV1vMBm9sdTAO8pHhHeYn09AVhaHfMHLEx21hy2bRza18NQRP3OVOcSZiu0xJPCyuItvO45sF43Er42Ui2fKGl4DYX4BeF32O8Gewi4a6kogv7hsSVzpoKuG16FMkQ7p9JG7OrlKXvJRrbrOXZuTx66y5TfhM5F+gv5xc9QLWdXPX872rv/9D5fqXyETnkxTzX/
l2k4cVBj3ormnYZG2L1wtlv2ziE7iX3bL2/0bpBp8psAoUjtMBGyTWJrFpXhVucCHYs3U2WA+cdlh6XGBpVRN5eN4Us7rIJtfLzDZBtb/fUfA6O6q0M5xk6y5qv2A==
                                                                                Case 0:23-cv-61203-AHS Document 38-8 Entered on FLSD Docket 07/27/2023 Page 25 of 38



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: MORLAY Sweet Pink Zircon Epoxy Yellow Smiley Cuff Finger Rings for Women Girl Jewelry Gift Party : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/MORLAY-Zircon-Yellow-Smiley-Jewelry/dp/B0C1ZD12FB/ref=sr_1_146

   Collection Date
   Thu, 20 Apr 2023 06:14:02 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   lrNsl6BVqRwQXPgTclJP+/YelGzo2zVMGsXNe6i76TkNqOTU3EVjk952TO/51BglYozi/1/6Ps3sae8m/hlYcHefu0XG0U9Mtz2EPXJZJ//S7yZmYlEepCS1VRYjuT2bya4EPwCvYwuZp1vt/tfxl3xMXv8WMF27+AjVZl7ICv0=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]MORLAY-Zircon-Yellow-Smiley-Jewelry[fs]dp[fs]B0C1ZD12FB[fs]ref=sr_1_146]]_Thu,-20-Apr-2023-06-14-02-GMT.pdf

   Hash (SHA256)
   a2fd93787c936c0b560bc80ed7beb6b3292485d02bb7e645e273ac343acac9ee

   Signature (PKCS#1v1.5)
JpLda06sxtlbU9nXbz5p0p85PnkFpWCjVAVI1Wm4/JT3oJ7P8Ch7NZJTnFdPrVvnLNq7uuW6Dk4IGG/0HL/fEcL9hi+zreqPVut4ZMds35PVSALpPlRDlPyiyAkGCO8KZj3RbKQncTx+zzp80Za5yvGg17V+3a5nrjajFZI4KXI=
                                                                                Case 0:23-cv-61203-AHS Document 38-8 Entered on FLSD Docket 07/27/2023 Page 26 of 38



                                                                                                                                                                                                                     Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 18 May 2023 10:51:14 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   DTtgnw/RM8COfC6xdrLrYe4qjOiNuJaIfQqrEuhrx8vuQk8dVJbZ6sWEYR3lDInOY/jE3f2/lMepnOlfOH0d5JB6Cb+4r4vJFrjaYYshwaWVQ8tSzmlNEH3v0Z6d+dYOkFe95Y4BGZAm9AT3XYr+PEexpllCcBmOpqsTJy0ffWcsub7u4sEIzeXflxh4PI7CdwQvsZJ10vQbZuaSN0/
   bQEms9DBtWDDDf4jCCE9jskeJgqWfBMdF9HxLHVXdKyTBgoVXm6cyCQ5hUHfg/Bh0pU1qoBvaEwcG/+5TN3mEDAoJHdH4XP8F1dzCQ339iaekIS8J/un6AocpGbxaLLksug==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-18-May-2023-10-51-14-GMT.mhtml

   Hash (SHA256)
   faa0e873337169dc992eb97c6a799940b2d276a5c7ad8140265be705ce760aad

   Signature (PKCS#1v1.5)
HnXjUTJtzlCiI0ThOgM9zUj8OXgrlqHA8SNKn8fp1yUpsuE+iU7R2hgV01p7Z5kJgS9Z65WPBqp/IKhpV1jEWJr+nY5qhyMK4eFQdkJTU5DNPmWMNsi8TcBJiifNJ/BpqekhiKNN7ELP3WSJwa64ZWwDvZSDBHy0QZTXQ9niv146PAUW
+pb8i1CZ08voSJ8GFsNas4PCMqC3QuijeqwLSvOZZzAKav4KRLWIGhLB03Q8GJMNs5CaqETxnaLhtF1alm3gvzlsWlGvPiry8VNz9F8UCpaA1VDb6oG62WvUmj31/HrhTnWMkWT8IWrIyH1cq2R4z/EzNJdz/ZpnyhBQpw==
                                                                                   Case 0:23-cv-61203-AHS Document 38-8 Entered on FLSD Docket 07/27/2023 Page 27 of 38



                                                                                                                                                                                                         Investigator Name: Chris Stavrou




                                                                                 Evidence Collection Report
   Page Title
   Amazon.com : PIAOLGYI Disco Ball Badge Reel,Cute Retractable Badge Reel Accessories,Gift for Nurse ID Card Holder,Funny Smiley Face Id Badge Clip with Alligator Clip for Teacher : Office Products

   URL
   https://www.amazon.com/PIAOLGYI-Retractable-Accessories-Alligator-Teacher/dp/B0BXLG7LT7/ref=sr_1_161_sspa

   Collection Date
   Wed, 26 Apr 2023 09:21:22 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Ft7O8oAxAtQ/w7fxBNLxA6uzGeiyJ/8VrArB2PJiJWA53NtZt4hg4cDIgJLKqhTaQSG04PdMsd8PBtEe5ERtkzmt2mzs+SRiLJgQtlbISj6g0XU4iPwTD7jr3PCOXR+uk0B9hcAG/+N8mbMNDVUY4QwiyKNohgcDagRMpeQ+6xc=




                                                                                                           File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]PIAOLGYI-Retractable-Accessories-Alligator-Teacher[fs]dp[fs]B0BXLG7LT7[fs]ref=sr_1_161_sspa]]_Wed,-26-Apr-2023-09-21-22-GMT.pdf

   Hash (SHA256)
   1698ae0b46634aa32d2226a88c504bd5781ffda68a364c63ef1ea1ed48613516

   Signature (PKCS#1v1.5)
YGd73z9PYrdaa2ENb7fI4ig02oWtXwW2f9yHr2z9WRy+vbZ6fuUUvAE/FAA9Klsouxu0E+k8zAHFooVdhndJvaNMYA2UVfNuGTBKjoNuVDtDA7yeibByj1nMA9wLfImZ6MGXXm9VdRYoZYMJWjWHouIoVrLT48NgHqFAOOYltuM=
                                                                                 Case 0:23-cv-61203-AHS Document 38-8 Entered on FLSD Docket 07/27/2023 Page 28 of 38



                                                                                                                                                                                              Investigator Name: Neha P




                                                                               Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Sat, 03 Jun 2023 00:17:21 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.102.78

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   XdRw2tFlZRyWjo/ct0UatlRZDT75C30/cajFpL1gfcloMdRow3AgzEkLsX1NBtAASwl7V8LbBIxPtBFjyQJVAzRxDKm6MAR4T0ah4vAoZ065gz2aXMs/qG6p4cqnHcdgNaJOCfS9DkTdzVrOnVZZ2cF8hoWnaUOGKDRkp8DK/Dyefgwh9c7Y
   +UG0IZC6swG5d5QofMzzVoO0Ke8U1CZs5haelTIQ0FnwZtYgx0gcev7zuQSe8LliHb1WLciYp5uQjOoittfzsKJxTg2onf4G/armB6ugR67NIbtiRR+m2AfuTgfswJQxkD5U4YwXV3Rh5leXUPFnbNrSd1yp2In54w==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Sat,-03-Jun-2023-00-17-21-GMT.mhtml

   Hash (SHA256)
   3fb1fafe2bacbfeb88f0795259277a6c3b4e03191cd7fc905021343018413e66

   Signature (PKCS#1v1.5)
cNnjeZ7VFbG6Ezl/09qtjQa1e7Zy54baoFv52NKWZo9DasPPSmzKAHiId3Q26sksDdtrep4xdAQzYAXMmqkhsD29DaKXsersgm2bkEWar1fMJWI/wlOgCLNcpOsBAQR7mrdOibzZlPu6/QO6MNvgoOQ2cCWoRwoL1vHgVFCqS0jdQEcktoVB5V+DQy/
P70UrUNm0ArbKHQu0vBnvK2NtEqJ76Wacm4gELKJV10zj3h1E+aBG8ltWAZuaXpwi56JtBM93ZCyNrwob3NRDqQWZgmfdvZfICh2woeIze+Eq2AplC3tRr5XdKcqzY3GrWPyMDEc8PpjVK2HOHPSiWy6hTQ==
                                                                                  Case 0:23-cv-61203-AHS Document 38-8 Entered on FLSD Docket 07/27/2023 Page 29 of 38



                                                                                                                                                                                                                                           Investigator Name: Chris Stavrou




                                                                                Evidence Collection Report
   Page Title
   Amazon.com: 1000 pcs Happy Smile Face Stickers for Kids 1.5 Inch 1 Inch Smiley Face Stickers Rolls Large Yellow Smile Stickers Teachers Reward Students Preschool Potty Training Rewards Toddler Incentive Stickers : Office Products

   URL
   https://www.amazon.com/Stickers-Teachers-Students-Preschool-Incentive/dp/B09TNB8VYN/ref=sr_1_3_sspa

   Collection Date
   Thu, 20 Apr 2023 07:20:09 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   qikqiZILQJHPhjbp0pq0R8VAx+fzS03TVWmuqXU1vkyxkLWbmkz8XSJQDQmszBxnsL89+uZOHBPx94KmIvVzNnhnby4iuDW4fMzr2bEFF8stdMzzn/LAu4l16H7rBdH68sSUnCHncO9NzWRNWR9SIJURoGyY8adUWcDAHWyLU4A=




                                                                                                           File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Stickers-Teachers-Students-Preschool-Incentive[fs]dp[fs]B09TNB8VYN[fs]ref=sr_1_3_sspa]]_Thu,-20-Apr-2023-07-20-09-GMT.pdf

   Hash (SHA256)
   09a62ca8000fd8d9d4e3fd81baa37c190468cf1894b15a974d4da50c42c5a26a

   Signature (PKCS#1v1.5)
e92Gn7WvTF4YfTDqf0jqJ3HKioXLTtC7MO8eSqOwCbIS/z2EjYDN7AdSoX0O4JDOyWK0XnQOJlX6eV4IEDgfmnfhMRfx9q/baNqGYXbVG1ZoYVVoKJhK/iHce3Jno9qnuE8nYaZysh/Q+a4C8YDiWyjEPE6UvgqpcnwrU3mnzYE=
                                                                                 Case 0:23-cv-61203-AHS Document 38-8 Entered on FLSD Docket 07/27/2023 Page 30 of 38



                                                                                                                                                                                                Investigator Name: Neha P




                                                                               Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 19 May 2023 01:08:27 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   A5Nu2rdQ4uT29OxcWNekzK5AinGaCqD1NMqeZdXExykkvhPTVadZZEI8JDQksv7jQlvfkdpaCoxVbhpX0uvGfeMGZscXiRZmJXOXomVeHO7hZv4WAX+fmplrQEQhQhiBW3OPIVUTAr1zNJ50DJQQYps8+m06marAKNp2apIxbepFV85guAX8XePbp/
   aChuPeC4XMjV2D70c7F9e8agudXxX9+kLH+VlPyhmgn32CjXVWvx2eS6rDYVk4tbNCWfS7GdKJG+VHcKgwEI9SSrvgG+4y4r9mrGfalkvF0phlqgLA2e1tzOTktbCUWguoQHPb4B2lqnkT2Rlriblo4Pu3uA==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-19-May-2023-01-08-27-GMT.mhtml

   Hash (SHA256)
   4ae51b3364b741b486d2491061524289ad8ca24c5ca5f31214fc4054d64c5306

   Signature (PKCS#1v1.5)
lTzHjgFLIv7Um9sc86gJ85Yi5A223SLrWNMEl6LMAWyNRLzGL9AjJ2kzzAIEx8rMfA8N3TYVdR+A932QN1gRrgPMYkrs4fs+KKdcZja+Obt
+8UMzW4EMrkjyxSBMHTcrXTpDZbmMl6gvg3P2dr8A32lJKkmUCMsqp6hWPEnpdeb8eTBgGDuadpxG4K7gcqUMsYmAfWrqJFaMKI3G2GLryeNWEgP8P9WOjPbDa3iNHbLthobYx8OP4kQaf0xYvhei+ddVLYJ/ehQDYcjXoJm/
wbFvtVpOPpVQOKZCRPfeTv80sVbWq9NKiu7gKCSoagQGGgyhC4LlplBrjBS9aToAvQ==
                                                                                Case 0:23-cv-61203-AHS Document 38-8 Entered on FLSD Docket 07/27/2023 Page 31 of 38



                                                                                                                                                                                                              Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
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   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 23 May 2023 05:53:10 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   202.83.40.91

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   mZW9W9Arp/PQhyfPURvXHvaQlKbA6p6pkkcoiIZHOmPayPK5p5Ty6OFlZSNBvFTQwCYrvab2amlcfdBEhELLamlcLfJzTlTwJtVDFkxFapUNTE3+9kVP+ffEXreazZDpZqE
   +3bXPixvuyezubY5wZBgnsG5NtDE4HjZQKlhdEsOCHb1UnVfxbArwbF73D0rEOJ1cV86AeC3iOzRvyRoECZQukEHsa0SlPp+AgGTjYprGsZ/g+7lkATI8V4bAs/ikRgLLTmbm2mg5Km0pztbHMC5eUlw6vAG21I2/pKm7XN7y2gSG2xoxEqLwn21aDCrVsYkjmMjPiGnRy6YK8UnWMA==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-23-May-2023-05-53-10-GMT.mhtml

   Hash (SHA256)
   e5fcab127891c78c2df657872626aaf4e94517cc850a14f99b0f8e81445acb63

   Signature (PKCS#1v1.5)
YzfJUlNvg/6vAhCo2MNMGCMAeiP0NrcQr7qWOefZLGPtf7ercij0MB7G3tgdSWZ5wniiWpD5p/zq3YlgLzh1abhfaFptDHY44XqIV6igVNKTAu8ENKhWv3EIK/NkRVWS7eDoucdounpEBn/PCdYZU7fxBhg+nfj+nGaoNQSP/
jVqZOg8x8hDReWZIIpjRfpGtIn2KutN56mLtKw1bwPMO4E33pn0BS779bjOKxFBXrsBfMYpS0Htxgp16BHVcJSMFsbb3maparqKAMSKQiR/PSCY7ul9iJFSct6I+WOf2dRK5qrYgDavuHQq7MPdxKvKn1Q1B4AQj9Jzn4UtzJ1g0A==
                                                                              Case 0:23-cv-61203-AHS Document 38-8 Entered on FLSD Docket 07/27/2023 Page 32 of 38



                                                                                                                                                                                                 Investigator Name: Sarah Christodoulou




                                                                            Evidence Collection Report
   Page Title
   HIQUAY 6/7/10 Pairs Women Casual Cotton Low Cut No Show Cute Smiley Face Socks Girls (6 pairs(2),US,Alpha,One Size,Regular,Regular) at Amazon Women’s Clothing store

   URL
   https://www.amazon.com/dp/B0BR54HJNQ

   Collection Date
   Tue, 23 May 2023 10:26:58 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   CA6J9henvI5T681tTebCsuYJB6WZjBrDNGp6U2rH7FsCUOTNsFIayHQasDBKqKk8TTT+G/Ap16cqkamTgII8EXJxY66kV9xnOb1/SGdjCWK/U2Rydt3G2NuRPIq0q3nMtZJPjgSpJNHVmM2MbMVVgzVA5En2/
   UnaenAqZrZcHAHmpysGZ2fpsdFjJHI7yuJwt8PQtz5qReu4D2Fj92FBkBKkGguOqxcdVY7OfhqhpuP67VCEnRw2moFvAeRNkXDGxQJ80Fh31CGfC1yIsHib7KMFvYIsZwMO+3S5xLZmySVq10LN1DxsWOIrl5Wvl3JUam1YSPtJEZjHU/x/ZSl3vw==




                                                                                                      File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B0BR54HJNQ]]_Tue,-23-May-2023-10-26-58-GMT.mhtml

   Hash (SHA256)
   347f184fde652d42894c94f2d2fde25575274655c1cb79ae82550f0bd6aa16ec

   Signature (PKCS#1v1.5)
A10SU9zayZW38a7IiHOKsSouTMUFJztKT5cOjIZaI48aMX+IAXUYXNQxX15rtrVSarSUlF8E5ezuplBJWvTyQ5AyEmTiH6azDnSgqK46nwFP1V4528qEjtnIWbb7siZMEJq85oKKjELJLug+NdjSJ6c4aQx5pNFSBLlH0HS+MNS2HqSTSCvm2qZk
+xCCKBmw52uYYCIkev8JTB021JytAnsUW7sTBlCwMXUwCSBS5k8X+6HSnxtNHf/3WvZPiIQo52gEepwUkhZt58+CHT5xu22S2IQzN67a4hjMNAdiYiazIolaCsRFpOiNdLbBBPkhxVymxy16tDaVIMSR72Awyw==
                                                                               Case 0:23-cv-61203-AHS Document 38-8 Entered on FLSD Docket 07/27/2023 Page 33 of 38



                                                                                                                                                                                                               Investigator Name: Sarah Christodoulou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: NOGRIT Don't Quit Your Daydream Cute Smiley Face Throw Pillow Cover 18x18 Inch Motivational Saying Themed Decor for Home Bedroom Living Room Girl Room Dorm,Teen Girls Gifts : Home & Kitchen

   URL
   https://www.amazon.com/NOGRIT-Daydream-Smiley-Motivational-Bedroom/dp/B0BJZ8K5L2/ref=sr_1_104

   Collection Date
   Tue, 09 May 2023 09:28:55 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   ZHEZaaG4vxA72qZZxVPHtDgVX6hv6lHCHWzhc2YrN2XXGoy1FAjJ+EIuhI2xb5Oxb+oSr+yCddMJwoWoq+lOq/qaAV6kRuYhrEEq429D0ukbS0BsKC7Ot4qumhMfipFrZLMe92Wa2Lu9BZlid5rmfqYYOVZ/enXB26CSA9qpfB4=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]NOGRIT-Daydream-Smiley-Motivational-Bedroom[fs]dp[fs]B0BJZ8K5L2[fs]ref=sr_1_104]]_Tue,-09-May-2023-09-28-55-GMT.pdf

   Hash (SHA256)
   9a994c36b63ff492a9ebfcac241b313150fe1640badd60506260b64297463612

   Signature (PKCS#1v1.5)
qSFjLwsD9OwyuUpraXbb7IOeEgQcy53sUNNiV+kM9Vmfjs9f2Nbm/GoT5Jf167/SM8QH3rgrMmWwazsnMU/5wA13+HnpXGUNfI/pQtHeeeo95ANtiE//YHIxwJtX8NyY/cSB+vMkxTvncCPjL5T/0fz3hkhV1+/qx6I/0BDByEk=
                                                                                Case 0:23-cv-61203-AHS Document 38-8 Entered on FLSD Docket 07/27/2023 Page 34 of 38



                                                                                                                                                                                                          Investigator Name: RemoteUser2




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Sat, 13 May 2023 16:56:12 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   2001:ac8:9a:1e::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   mG1V5SawAFZx/28PT48iG61hgMwq5mEGKD5r+egNb7gXmx97qA0YM7Aj9cm03sMNJ0hFP4z7UwA8o+NSs5OrS4N3VwXuHirDre1iqhth6MpmotDw4ldQvbGgtjmrZIs+GbJ6/Yw8+gZ7yataY0POBX4RR1pgLBXMlCGKKft+tQm2i5RS85zZk4CJ81e8HTOs5jBlYQuIzJgCiJrLrY2UDNpKC//
   EwvWXl8YbkJYNzUqc2a9Lv3DgAx/PBvkmDAr+s7/2INLB50kIZtGuD+O5SN/EeERi72ydSbM2AvVy2/ReoV1RZV62GHqHOkYgVjESSINDNudJZHAlOPZPRx8gPw==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Sat,-13-May-2023-16-56-12-GMT.mhtml

   Hash (SHA256)
   8757d5f8c10d4fbd972dc6e76d565fba734e0fb8fc2fed6585c657effc33d75e

   Signature (PKCS#1v1.5)
VSq54PznYK+lKtaN79/RM+7JthMZJrj9UnKLJaNVxqWkhTxQU7BmYz0PoJp+tGkQC9mQXouCT5MNI05PxbfdkheRF91+o6hz7emxsAT+hIsw2NLpB5SKZiD4H6s1fvu7qJ5MixIbL3vtCHzk+rG21ybECtu+4bv4k/R922MxjBEndkiReKuc+B7Sqq689qLvkX4j3/
LjzuqfOtJNBJM1sUVjTY528wFPzbxYwZSQJzZVrLNyiDaVvusZOPXIl5RYr2Yb4zfDRuXn1BAPPngfsADGJOh8SZc5p/ib1ksjqKg6zcuLpuFGsTA4WpR9BalpUdKGIULp+SQCgI9VXq27jw==
                                                                                 Case 0:23-cv-61203-AHS Document 38-8 Entered on FLSD Docket 07/27/2023 Page 35 of 38



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                                Evidence Collection Report
   Page Title
   Amazon.com: 2000 Pieces Smiley Weather Expression Stickers, Children's Reward Stickers for Classroom School Motivational Stickers : Office Products

   URL
   https://www.amazon.com/Expression-Stickers-Childrens-Classroom-Motivational/dp/B0BNTT4H8D/ref=sr_1_123

   Collection Date
   Tue, 25 Apr 2023 08:17:59 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   ruUEOtSxd/4QnOzuJdyDj+0pKNo3hUvI3Yd30r5K7jhlMJfT9/mBI8K5NypqiS0XIVbe4SrVEX91kn5xMqDYgxkkfIq5ZPJsBjW3IOwcDusOCHrlFRNRGXowJx7alYdAEap6A9d3pFvHWVmcC+Z7e1V4AoR/YOZBotrrm80S9xw=




                                                                                                          File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Expression-Stickers-Childrens-Classroom-Motivational[fs]dp[fs]B0BNTT4H8D[fs]ref=sr_1_123]]_Tue,-25-Apr-2023-08-17-59-GMT.pdf

   Hash (SHA256)
   12d22723c68867f485e6aec39b6df55a29cc121e165bc64d982e0de30ff55996

   Signature (PKCS#1v1.5)
OPa0TIrJQgNrw2k9X5Jy5Qr8nsYztlYTgv7I99ubqMZfX+LtvMRC2lYG9OqA1gXX+38ZN1HQ/IZz70mYEv47bSrnAruJ9x7F1giGiCuOiAbIKM2lAvaNUyVPU0drdSMKDlT8mIptzOTwnFWfixa4uH3AA8grGmLA21KKKLdfeqo=
                                                                                Case 0:23-cv-61203-AHS Document 38-8 Entered on FLSD Docket 07/27/2023 Page 36 of 38



                                                                                                                                                                                                             Investigator Name: RemoteUser2




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 16 May 2023 15:17:30 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   202.83.57.61

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   XVE3d5I2E0dfd4Y7Hqz7kGIwS8jrbyqTn6nH3VswTVqa43JfKhhfRKa4BbpItizKNMxlzmQBZIP6ey+RV+nzzJ6J9y9hQSas8mTlTvI+MhZCJntiWnJOOW+xfGaqSn25+IlwkuMQ316BQ3IflNX7shzndFyxjvZhPmOvQagqGUkPYrXm86Jy9VItKWTAWKTOGqR2YlULlF4ataq7nWFWJfb0Qgy1fK
   +x3gaP1JMAlQo5DDRgPV09cLzwnN0YBU9j+65XeKRfMp55ZGj+HZLnAfrpH1C855MYdF4iWGeRkMD4hPm49OMTVUh3TYafwWE54zPjDhfytICF9DT5Lj4n1w==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-16-May-2023-15-17-30-GMT.mhtml

   Hash (SHA256)
   94461139a30bcbf2d574a1b9ec28059eecc075fc9deb7cfd281f62ca25f32a6e

   Signature (PKCS#1v1.5)
kNo6j8uBasjbgybZ1n22voCRC7yHzGnZhsALyoEIFV2i0z4tNh0ehsCj3gtkBPI0rBKqabXaerOQYLBGacfbVMOuM/QKny0c2jLdV/BZJHxXug4Y8O9hNWlLezVxt96cCyDXg7Z0Hwts25en8WN2NYCajH2gl1wRX44m2FF7iByXMWNlcGpDdNcdJs/8SO6UE09LNY7DWF2jxCjVZcP
+MHUM54YHGopUVrO41S3i5faJrA0P2GVIg2iCsd7SWqNjqZzuqrA1YQed1If7Ja2bqR5nOqMWfoozcH3jBg0otXacYCi+YiywGa8UNunVQZLwluKeS8RjjgP6HXlhhetsVA==
                                                                               Case 0:23-cv-61203-AHS Document 38-8 Entered on FLSD Docket 07/27/2023 Page 37 of 38



                                                                                                                                                                                                            Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: NLCAC 14K Gold Layered Beaded Necklaces for Women-Detachable Colorful Beaded Choker Dainty Paperclip Chain Smiley Face Pendant Necklace Y2k Jewelry White Smile: Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/NLCAC-Necklaces-Women-Detachable-Colorful-Paperclip/dp/B09BFHT2K1/ref=sr_1_29

   Collection Date
   Wed, 19 Apr 2023 11:42:44 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   b0hT59NxGlCeM8KcKNv7yOhJGAPerLNiewlx6Ielnf6ezSceYW39CoeJMPhipBERHy4nfdz0g1lCCNFmzcHjw0Y7i1uteQhKgozYIlJS0FIM6Em7zYNpXLT8MD2MNaxN0Meiv6TJzMZlyqTbdjoVdHlzKgqVV9iLTfFOQkbeQOQ=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]NLCAC-Necklaces-Women-Detachable-Colorful-Paperclip[fs]dp[fs]B09BFHT2K1[fs]ref=sr_1_29]]_Wed,-19-Apr-2023-11-42-44-GMT.pdf

   Hash (SHA256)
   39380ae064e738dba0552037aecdb964318473dfcbbdd124099082a8c2908fcc

   Signature (PKCS#1v1.5)
JU7VKfyQ3QCdA16NZiYlck2hFIoVecqrQblbCCGcgL1IULNuHjYHen1cARI01zLpn+X/ETLT/pfCw3IXJy0W05x11gt87v2jCLAQN2fziqVp9YT7E1VWOQXRfj4eD2g1h4UHi51HMwVbxMPbUcfFa0FCOGa6X208CmG+j7vjJ7Q=
                                                                                Case 0:23-cv-61203-AHS Document 38-8 Entered on FLSD Docket 07/27/2023 Page 38 of 38



                                                                                                                                                                                                       Investigator Name: RemoteUser2




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 11 May 2023 11:11:06 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   202.83.40.99

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   FPi1osl33mpZWMKyjuGLVDR3R74Re+soeF/R6eDoTZzT7QEzoNPHJna0dLsyo1JHiKfsG3tipuFndoaYqXi7khN3X0sJgOJKB5tD3omc6nz6g3O1SBYUUbe4HSh/f9g+2VmXGJG7RHlbKiSYMJcFUObcOkw3uMyra5wcZ2JJreVhzD5A/HC/X+4bbWMighYa/
   HRahh4gmLDZDQarjMKEkp3lM7NuD6KMgFjuFUj1UrjQ0zPKW6hQJfIMvXX4dOJV164LsrX2GtJid3Jv2XTRnbY1Lt4dX7X3ewy+JiB2YRVlkvfbBlMvkY1lO7GVvZFAmcZwOZOyqHMZObru43x4fA==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-11-May-2023-11-11-06-GMT.mhtml

   Hash (SHA256)
   36172ca4c19e11e8afd73421653b62629e06e7a4462e7e04960260a74f0db7d5

   Signature (PKCS#1v1.5)
mKXED2eRvyATZ/CzPSulOvoG6ieDhWqGHGUURM0j4BFmH0PY+Z4haafUxo8tR3N92qdGPEkW2mFN2eFAIuIAb69dyGAWCh14JiZSLY4oz73PSzMm4Iy7tJjHWVHr1l+FR9aDMMqvTCrf376xvkXv
+Az9bdL07XT2kcF19qD7GReMNOOxPh3U5JhS9CI7WbPOBBzdmlMvLVDEQHZntgojQPVCSKGLJCW0EBG7wqDCdgKO1tv6gRtr6Hc4xKDO0RycNtJQELnyp0/IxLSXp/Y5edHfxCK2BVA3KdJun5i3dWBPTh5JwA9Z2u8i0xc/Fn6p9j1ZwAzpD8Q/SiL2E5HdnA==
